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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     -----------------------------------------------------------------------x
     JOSEF VOLMAN
                                                                                 Case No. _____________
                                                 Plaintiff,
                         -against-
                                                                                 COMPLAINT

     CULINARY CONCEPTS NY INC. d/b/a OAXACA
     TAQUERIA and NADAV, LLC,

                                                 Defendants.
     ------------------------------------------------------------------------x




          Plaintiff Josef Volman (hereafter referred to as "plaintiff”), by counsel, Gabriel A.

  Levy. P.C., as and for the Complaint in this action against defendants Culinary Concepts NY

  Inc. d/b/a Oaxaca Taqueria and Nadav, LLC (together referred to as "defendants"), hereby

  alleges as follows:

                                     NATURE OF THE CLAIMS

          1.           This lawsuit opposes pervasive, ongoing and inexcusable disability

  discrimination by the defendants. In this action, plaintiff seeks declaratory, injunctive and

  equitable relief, as well as monetary damages and attorney’s fees, costs and expenses to redress

  defendants’ unlawful disability discrimination against plaintiff, in violation of Title III of the

  Americans with Disabilities Act (“ADA”) 42 U.S.C. §§ 12181 et. seq. and its implementing

  regulations, the New York State Executive Law (the "Executive Law''), § 296, New York State

  Civil Rights Law, § 40, and the Administrative Code of the City New York (the ''Administrative

  Code''), § 8-107. As explained more fully below, defendants own, lease, lease to, operate and control a

  place of public accommodation that violates the above-mentioned laws. Defendants are vicariously

  liable for the acts and omissions of their employees and agents for the conduct alleged herein.

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         2.       These defendants made a financial decision to ignore the explicit legal

  requirements for making their place of public accommodation accessible to persons with

  disabilities – all in the hopes that they would never be caught. In so doing, defendants made a

  calculated, but unlawful, decision that disabled customers are not worthy. The day has come

  for defendants to accept responsibility. This action seeks to right that wrong by making

  defendants’ place of public accommodation fully accessible so that plaintiff can finally enjoy

  the full and equal opportunity that defendants provide to non-disabled customers.

                                JURISDICTION AND VENUE

         3.          This Court has jurisdiction over this matter pursuant to 42 U.S.C. § 12188

  and 28 U.S.C. §§ 1331 and 1343 as this action involves federal questions regarding the

  deprivation of plaintiff's rights under the ADA. The Court has supplemental jurisdiction over

  plaintiff's related claims arising under the New York State and City laws pursuant to 28 U.S.C.

  § 1367(a).

         4.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because

  defendants’ acts of discrimination alleged herein occurred in this district and defendants’ place

  of public accommodation that is the subject of this action is located in this district.

                                            PARTIES

         5.       At all times relevant to this action, plaintiff has been and remains a resident of

  the State of New Jersey.

         6.       At all times relevant to this action, plaintiff has been and remains bound to

  ambulate in a wheelchair, having been born with spastic diplegia cerebral palsy with mild

  involvement of the right arm. As a result, Plaintiff suffers from medical conditions that inhibit

  walking and restrict body motion range and movement.

         7.       Plaintiff lives 10 minutes away from New York and is currently working as a
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  DJ and entertainer throughout the New York area.

          8.         At all relevant times, the defendants operate and/or lease property located at or

  about 250 4th Avenue, Brooklyn, New York 11215 (hereinafter referred to as the “Premises”).

          9.         Each defendant is licensed to and/ or does business in New York State.

          10.        At all relevant times, the defendants operate a place of public accommodation

  at the Premises.


                  ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

          11.        Each of the defendants is a public accommodation as they own, lease, lease to,

  control or operate a place of public accommodation, the Premises, within the meaning of the

  ADA (42 U.S.C. § 12181 and 28 C.F.R. § 36.104), the Executive Law (§ 292(9)) and the

  Administrative Code (§ 8- 102(9)).

          12.        The Premises is a place of public accommodation within the meaning of the

  ADA (42 U.S.C. § 12181 and 28 C.F.R. § 36.104), the Executive Law (§ 292(9)) and the

  Administrative Code (§ 8-102(9)) as it is a facility operated by a private entity and its

  operations affect commerce.

          13.        Numerous architectural barriers exist at defendants’ place of public

  accommodation (the “Premises”) that prevent and/or restrict access to plaintiff, a person with

  a disability.

          14.        Upon information and belief, the Premises was designed and constructed for

  first possession after January 26, 1993.

          15.        Upon information and belief, at some time after January 1992, defendants

  made alterations to the Premises, including areas adjacent and/or attached to the Premises.

          16.        Upon information and belief, at some time after January 1992, defendants

  made alterations to the Premises.
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              17.      Within the past three years of filing this action, plaintiff attempted to and

       desired to access the Premises.

              18.      Plaintiff travels within the New York area on a regular basis as part of his work

       as a DJ and intends on returning to the Premises in the future.

              19.      The services, features, elements and spaces of defendants’ place of public

       accommodation are not readily accessible to, or usable by plaintiff as required by the

       Americans with Disabilities Act Accessibility Guidelines, 28 C.F.R. Part 36, Appendix A, and

       adopted by the United States Department of Justice in 1991 as the Standards for Accessible

       Design (“1991 Standards”) or the revised final regulations implementing Title III of the ADA

       adopted by the United States Department of Justice in 2010 as the 2010 Standards for

       Accessible Design (“2010 Standards”).

              20.      Because of defendants’ failure to comply with the above-mentioned laws,

       including but not limited to the 1991 Standards or the 2010 Standards and the Administrative

       Code, plaintiff was and has been unable to enjoy safe, equal and complete access to defendants’

       place of public accommodation.

              21.      Defendants' place of public accommodation has not been designed,

       constructed, or altered in compliance with the 1991 Standards, the 2010 Standards, the

       Administrative Code, the Building Code of the City of New York (“BCCNY”), or the 2014

       New York City Construction Code (“2014 NYC”).

              22.      Barriers to access that plaintiff encountered and/or which deter plaintiff from

       patronizing the defendants’ place of public accommodation as well as barriers that exist

       include, but are not limited to, the following:

I.     REQUIRED MINIMUM KNEE AND TOE CLEARANCE NOT PROVIDED AT DINING
       TABLES LOCATED AR EXTERIOR FINING AREA. A MINIMUM PERCENTAGE OF
       EXISTING DINING TABLES REQUIRED TO BE ACCESSIBLE NOT PROVIDED.

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            a. Where dining surfaces are provided for the consumption of food or drink, at least 5 percent
               of the seating spaces and standing spaces at the dining surfaces shall comply with 902.
               Dining surfaces and work surfaces shall comply with 902.2 and 902.3. A clear floor space
               complying with 305 positioned for a forward approach shall be provided. Knee and toe
               clearance complying with 306 shall be provided. Where toe clearance is required at an
               element as part of a clear floor space, the toe clearance shall extend 17 inches (430 mm)
               minimum under the element. Toe clearance shall be 30 inches (760 mm) wide minimum.
               Where knee clearance is required under an element as part of a clear floor space, the knee
               clearance shall be 11 inches deep minimum at 9 inches above the ground, and 8 inches deep
               minimum at 27 inches (685 mm) above the finish floor or ground. Knee clearance shall be 30
               inches (760 mm) wide minimum.
 II.     INACCESSIBLE DINING TABLES LOCATED AT EXTERIOR DINING AREA.
            a. In restaurants and cafeterias, an accessible route shall be provided to all dining areas,
               including raised or sunken dining areas, and outdoor dining areas.
III.     INACCESSIBLE ENTRANCE. ACCESSIBLE ROUTE TO ESTABLISHMENT NOT PROVIDED
         AS REQUIRED. ACCESSIBLE MEANS OF EGRESS NOT PROVIDED AS REQUIRED.
         EXISTING STEPS AT ENTRANCE ACTS AS A BARRIER TO ACCESSIBILITY. REQUIRED
         RAMP NOT PROVIDED FOR STEP AT ENTRANCE.
            a. Accessible routes shall be provided in accordance with 206 and shall comply with Chapter 4.
               Accessible routes shall be provided where required by 206.2. At least one accessible route
               shall be provided within the site from accessible parking spaces and accessible passenger
               loading zones; public streets and sidewalks; and public transportation stops to the accessible
               building or facility entrance they serve. Entrances shall be provided in accordance with
               206.4. Entrance doors, doorways, and gates shall comply with 404 and shall be on an
               accessible route complying with 402. In addition to entrances required by 206.4.2 through
               206.4.9, at least 60 percent of all public entrances shall comply with 404. Means of egress
               shall comply with section 1003.2.13 of the International Building Code (2000 edition and
               2001 Supplement) or section 1007 of the International Building Code (2003 edition)
               (incorporated by reference, “Referenced Standards” in Chapter 1). Changes in level shall
               comply with 303. Changes in level greater than ½ inch high shall be ramped, and shall
               comply with 405 or 406.
IV.      INACCESSIBLE SELF SERVICE BEVERAGE COOLER DISPLAYING BEVERAGES FOR
         PURCHASE. NON-COMPLIANCE HEIGHT OF SHELVES IN SELF SERVICE BEVERAGE
         COOLER EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
            a. Self-servicing shelves and dispensing devices for tableware, dishware, condiments,
               food and beverages shall comply with 308. Where a forward reach is unobstructed,
               the high forward reach shall be 48 inches maximum and the low forward reach shall
               be 15 inches minimum from the ground.
V.       INACCESSIBLE DINING TABLES AT INTERIOR. REQUIRED MINIMUM KNEE AND
         TOE CLEARANCE NOT PROVIDED AT DINING TABLES. A MINIMUM
         PERCENTAGE OF EXISTING DINING TABLES REQUIRED TO BE ACCESSIBLE
         NOT PROVIDED.
            a. Where dining surfaces are provided for the consumption of food or drink, at least 5 percent
               of the seating spaces and standing spaces at the dining surfaces shall comply with 902.
               Dining surfaces and work surfaces shall comply with 902.2 and 902.3. A clear floor space
               complying with 305 positioned for a forward approach shall be provided. Knee and toe
               clearance complying with 306 shall be provided. Where toe clearance is required at an
               element as part of a clear floor space, the toe clearance shall extend 17 inches (430 mm)
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                minimum under the element. Toe clearance shall be 30 inches (760 mm) wide minimum.
                Where knee clearance is required under an element as part of a clear floor space, the knee
                clearance shall be 11 inches deep minimum at 9 inches above the ground, and 8 inches deep
                minimum at 27 inches (685 mm) above the finish floor or ground. Knee clearance shall be 30
                inches (760 mm) wide minimum.
 VI.      EXISTING STEP AT TRAVEL PATH TO RESTROOMS ACT AS A BARRIER TO
          ACCESSIBILITY. REQUIRED RAMP NOT PROVIDED FOR STEP AT TRAVEL PATH
          LEADING TO RESTROOMS.
             a. Accessible routes shall be provided in accordance with 206 and shall comply with Chapter 4.
                Changes in level shall comply with 303. Changes in level greater than ½ inch high shall be
                ramped, and shall comply with 405 or 406.
VII.      COMPLIANT SIGNAGE IDENTIFYING THE RESTROOM NOT PROVIDED AS
          REQUIRED.
             a. Signs shall be provided in accordance with 216 and shall comply with 703. Interior and
                exterior signs identifying permanent rooms and spaces shall comply with 703.1, 703.2, and
                703.5. Where pictograms are provided as designations of permanent interior rooms and
                spaces, the pictograms shall comply with 703.6 and shall have text descriptors complying
                with 703.2 and 703.5. Section 216.2 applies to signs that provide designations, labels, or
                names for interior rooms or spaces where the sign is not likely to change over time.
                Examples include interior signs labeling restrooms, room and floor numbers or letters, and
                room names. Tactile text descriptors are required for pictograms that are provided to label or
                identify a permanent room or space. Pictograms that provide information about a room or
                space, such as “no smoking,” occupant logos, and the International Symbol of Accessibility,
                are not required to have text descriptors. Signs shall comply with 703. Where both visual and
                tactile characters are required, either one sign with both visual and tactile characters, or two
                separate signs, one with visual, and one with tactile characters, shall be provided. Tactile
                characters on signs shall be located 48 inches (1220 mm) minimum above the finish floor or
                ground surface, measured from the baseline of the lowest tactile character and 60 inches
                (1525 mm) maximum above the finish floor or ground surface, measured from the baseline
                of the highest tactile character. Where a tactile sign is provided at a door, the sign shall be
                located alongside the door at the latch side. Where a tactile sign is provided at double doors
                with one active leaf, the sign shall be located on the inactive leaf. Where a tactile sign is
                provided at double doors with two active leafs, the sign shall be located to the right of the
                right hand door. Where there is no wall space at the latch side of a single door or at the right
                side of double doors, signs shall be located on the nearest adjacent wall. Signs containing
                tactile characters shall be located so that a clear floor space of 18 inches (455 mm) minimum
                by 18 inches (455 mm) minimum, centered on the tactile characters, is provided beyond the
                arc of any door swing between the closed position and 45 degree open position.
VIII.     NON-COMPLIANT DOOR KNOB AT DOOR OF THE RESTROOMS REQUIRES TWISTING
          OF THE WRIST.
             a. Handles, pulls, latches, locks, and other operable parts on doors and gates shall comply with
                309.4. Operable parts shall be operable with one hand and shall not require tight grasping,
                pinching, or twisting of the wrist. The force required to activate operable parts shall be 5
                pounds maximum.
 IX.      NON-COMPLIANT DOOR LOCK AT RESTROOM DOOR REQUIRES TWISTING OF THE
          WRIST.
             a. Handles, pulls, latches, locks, and other operable parts on doors and gates shall comply with
                309.4. Operable parts shall be operable with one hand and shall not require tight grasping,
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                pinching, or twisting of the wrist. The force required to activate operable parts shall be 5
                pounds maximum.
  X.      REQUIRED GRAB BARS NOT PROVIDED ON REAR AND SIDE WALLS OF WATER
          CLOSET IN THE RESTROOM.
             a. Grab bars for water closets shall comply with 609. Grab bars shall be provided on the side
                wall closest to the water closet and on the rear wall.
 XI.      INACCESSIBLE PAPER TOWEL DISPENSER IN RESTROOM. NON COMPLIANT
          MOUNTED HEIGHT OF PAPER TOWEL DISPENSER IN THE RESTROOM EXCEEDS
          MAXIMUM HEIGHT ALLOWANCE.
             a. If soap and towel dispensers are provided, they must be located within the reach ranges
                specified in 308. Where a forward reach is unobstructed, the high forward reach shall be 48
                inches maximum and the low forward reach shall be 15 inches minimum above the finish
                floor or ground. Where a high forward reach is over an obstruction, the clear floor space
                shall extend beneath the element for a distance not less than the required reach depth over the
                obstruction. The high forward reach shall be 48 inches maximum where the reach depth is 20
                inches maximum. Where the reach depth exceeds 20 inches, the high forward reach shall be
                44 inches maximum and the reach depth shall be 25 inches maximum. Where a clear floor or
                ground space allows a parallel approach to an element and the side reach is unobstructed, the
                high side reach shall be 48 inches maximum and the low side reach shall be 15 inches
                minimum above the finish floor or ground. Where a clear floor or ground space allows a
                parallel approach to an element and the high side reach is over an obstruction, the height of
                the obstruction shall be 34 inches maximum and the depth of the obstruction shall be 24
                inches maximum. The high side reach shall be 48 inches maximum for a reach depth of 10
                inches maximum. Where the reach depth exceeds 10 inches, the high side reach shall be 46
                inches maximum for a reach depth of 24 inches maximum.
XII.      NON-COMPLIANT FAUCET KNOBS AT LAVATORY IN THE RESTROOMS REQUIRE
          TWISTING OF THE WRIST.
             a. Controls for faucets shall comply with 309. Hand-operated metering faucets shall remain
                open for 10 seconds minimum. Operable parts shall be operable with one hand and shall not
                require tight grasping, pinching, or twisting of the wrist. The force required to activate
                operable parts shall be 5 pounds (22.2 N) maximum.
XIII.     REQUIRED MINIMUM MANEUVERING CLEARANCE NOT PROVIDED AT INTERIOR
          SIDE OF RESTROOM DOOR.
             a. Minimum maneuvering clearances at doors and gates shall comply with 404.2.4.
                Maneuvering clearances shall extend the full width of the doorway and the required latch
                side or hinge side clearance. Floor or ground surface within required maneuvering clearances
                shall comply with 302.Changes in level are not permitted.


                 23.      The above listing is not to be considered all-inclusive of the barriers, which

          exist at the Premises.

                 24.      Upon information and belief, a full inspection of the defendants’ place of public

          accommodation will reveal the existence of other barriers to access.

                 25.      As required by the ADA (remedial civil rights legislation) to properly remedy
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  defendants’ discriminatory violations and avoid piecemeal litigation, plaintiff requires a full

  inspection of the defendants’ public accommodation in order to catalogue and cure all of the

  areas of non-compliance with the ADA. Notice is therefore given that plaintiff intends on

  amending the Complaint to include any violations discovered during an inspection that are not

  contained in this Complaint.

          26.      Defendants have denied plaintiff the opportunity to participate in or benefit

  from services or accommodations because of a disability.

          27.      Defendants have not satisfied their statutory obligation to ensure that their

  policies, practices, procedures for persons with disabilities are compliant with the laws. Nor

  have defendants made or provided reasonable accommodations or modifications to persons

  with disabilities.

          28.      Plaintiff has a realistic, credible and continuing threat of discrimination from

  the defendants’ non-compliance with the laws prohibiting disability discrimination. The

  barriers to access within defendants' place of public accommodation continue to exist and deter

  plaintiff.

          29.      Plaintiff frequently travels to the area where defendants’ place of public

  accommodation is located.

          30.      Plaintiff intends to patronize the defendants’ place of public accommodation

  several times a year after it becomes fully accessible.

                            FIRST CAUSE OF ACTION
           (VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT)

          31.      Plaintiff realleges and incorporates by reference all allegations set forth in this

  Complaint as if fully set forth herein.

          32.      Plaintiff is substantially limited in the life activity of both walking and body


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  motion range and thus has a disability within the meaning of the ADA. As a direct and

  proximate result of plaintiff’s disability, plaintiff uses a wheelchair for mobility, and also has

  restricted range of motion.

          33.      The ADA imposes joint and several liability on both the property owner and

  lessee of a public accommodation. 28 C.F.R. 36.201(b).

          34.      Under the ADA, both the property owner and lessee are liable to the plaintiff

  and neither can escape liability by transferring their obligations to the other by contract (i.e.

  lease agreement). 28 C.F.R. 36.201(b).

          35.      Defendants have and continue to subject plaintiff to disparate treatment by

  denying plaintiff full and equal opportunity to use their place of public accommodation all

  because plaintiff is disabled. Defendants’ policies and practices have disparately impacted

  plaintiff as well.

          36.      By failing to comply with the law, defendants have articulated to disabled

  persons such as the plaintiff that they are not welcome, objectionable and not desired as patrons

  of their public accommodation.

          37.      Defendants have discriminated against the plaintiff by designing and/or

  constructing a building, facility and place of public accommodation that is not readily

  accessible to and usable by the disabled plaintiff and not fully compliant with the 1991

  Standards or the 2010 Standards. See 28 C.F.R. § 36.401(A)(1) and 42 U.S.C.

          §12183(a)(1).

          38.      Defendants’ place of public accommodation is not fully accessible and fails to

  provide an integrated and equal setting for the disabled, all in violation of 42 U.S.C.

  §12182(b)(1)(A) and 28 C.F.R. § 36.203.

          39.      Upon making alterations to their public accommodation, defendants failed to

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   make their place of public accommodation accessible to plaintiff to the maximum extent

   feasible in violation of 28 C.F.R. §§ 36.402 and 36.406.

          40.      Upon making these alterations to the primary function areas, defendants failed

   to make the paths of travel to the primary function areas accessible to plaintiff, in violation of

   28 C.F.R. § 36.403.

          41.      28 C.F.R. § 36.406(5) requires defendants to make the facilities and elements

   of their noncomplying public accommodation accessible in accordance with the 2010

   Standards.

          42.      Defendants failed to make all readily achievable accommodations and

   modifications to remove barriers to access in violation of 28 C.F.R. § 36.304. It would be

   readily achievable to make defendants’ place of public accommodation fully accessible.

          43.      By failing to remove the barriers to access where it is readily achievable to do

   so, defendants have discriminated against plaintiff on the basis of disability in violation of §

   302(a) and 302(b)(2)(A)(iv) of the ADA, 42 U.S.C. § 12182(a), (b)(2)(A)(iv), and 28 C.F.R.

   § 36.304.

          44.      In the alternative, defendants have violated the ADA by failing to provide

   plaintiff with reasonable alternatives to barrier removal as required by 28 C.F.R. § 36.305.

          45.      Defendants’ failure to remove the barriers to access constitutes a pattern and

   practice of disability discrimination in violation of 42 U.S.C. § 12181 et. seq., and 28

          C.F.R § 36.101 et. seq.

          46.      Defendants have and continue to discriminate against plaintiff in violation of

   the ADA by maintaining and/or creating an inaccessible public accommodation.



                         SECOND CAUSE OF ACTION
            (VIOLATIONS OF THE NEW YORK STATE EXECUTIVE LAW)
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           47.       Plaintiff realleges and incorporates by reference all allegations set forth in this

   Complaint as if fully set forth herein.

           48.       Plaintiff suffers from various medical conditions that separately and together

   prevent the exercise of normal bodily functions in plaintiff; in particular, the life activities of

   both walking and body motion range. Plaintiff therefore suffers from a disability within the

   meaning of the Executive Law § 296(21).

           49.       Defendants have and continue to subject plaintiff to disparate treatment by

   denying plaintiff equal opportunity to use their place of public accommodation all because

   plaintiff is disabled.

           50.       Defendants discriminated against plaintiff in violation of New York State

   Executive Law § 296(2), by maintaining and/or creating an inaccessible place of public

   accommodation. Each of the defendants have aided and abetted others in committing disability

   discrimination.

           51.       Defendants have failed to make all readily achievable accommodations and

   modifications to remove barriers to access in violation of Executive Law §

   296(2)(c)(iii).

           52.       In the alternative, defendants have failed to provide plaintiff with reasonable

   alternatives to barrier removal as required in violation of Executive Law § 296(2)(c)(iv).

           53.       It would be readily achievable to make defendants’ place of public

   accommodation fully accessible.

           54.       It would not impose an undue hardship or undue burden on defendants to make

   their place of public accommodation fully accessible.

           55.       As a direct and proximate result of defendants' unlawful discrimination in

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   violation of New York State Executive Law, plaintiff has suffered, and continues to suffer

   emotional distress, including but not limited to humiliation, embarrassment, stress, and

   anxiety.

          56.      Plaintiff has suffered and will continue to suffer damages in an amount to be

   determined at trial.



                               THIRD CAUSE OF ACTION
         (VIOLATIONS OF THE ADMINISTRATIVE CODE OF THE CITY OF
                                       NEW YORK)
          57.  Plaintiff realleges and incorporates by reference all allegations set forth in this

   Complaint as if fully set forth herein.

          58.      Plaintiff suffers from various medical conditions that separately and

          together, impair plaintiff’s bodily systems - in particular, the life activity of both

   walking and body motion range -and thus plaintiff has a disability within the meaning of the

   Administrative Code § 8-102(16).

          59.      The Local Civil Rights Restoration Act of 2005 (the “Restoration Act”), also

   known as Local Law 85, clarified the scope of the Administrative Code in relation

          to the New York City’s Human Rights Law. The Restoration Act confirmed the

   legislative intent to abolish “parallelism” between the Administrative Code and the Federal

   and New York State anti-discrimination laws by stating as follows:

          The provisions of this title shall be construed liberally for the accomplishment of the

   uniquely broad and remedial purposes thereof, regardless of whether federal or New York

   State civil and human rights laws, including those laws with provisions comparably-worded

   to provisions of this title, have been so construed.

          Restoration Act § 7 amending Administrative Code §8-130 (emphasis added). The


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   Restoration Act is to be construed broadly in favor of plaintiff to the fullest extent possible.

          60.     Defendants have and continue to subject plaintiff to disparate treatment and

   disparate impact by directly and indirectly refusing, withholding, and denying the

   accommodations, advantages, facilities, and privileges of their place of public accommodation

   all because of disability in violation of the Administrative Code § 8- 107(4). Each of the

   defendants have aided and abetted others in committing disability discrimination.

          61.      Defendants have discriminated, and continue to discriminate, against plaintiff

   in violation of the Administrative Code § 8-107(4) by designing, creating and/or maintaining

   an inaccessible commercial facility/space.

          62.      Defendants have subjected, and continue to subject, plaintiff to disparate

   treatment by directly and indirectly refusing, withholding, and denying the accommodations,

   advantages, facilities, and privileges of their commercial facility/space all because of disability

   in violation of the Administrative Code § 8-107(4).

          63.      In violation of Administrative Code § 8-107(6), defendants have and continue

   to, aid and abet, incite, compel or coerce each other in each of the other

          defendants’ attempts to, and in their acts of directly and indirectly refusing,

   withholding, and denying the accommodations, advantages, facilities, and privileges of their

   commercial facility/space and the place of public accommodation therein, all because of

   disability, as well as other acts in violation of the Administrative Code.

          64.      Defendants discriminated against plaintiff in violation of the Administrative

   Code, § 8-107(4), and Local Law 58 by maintaining and/or creating an inaccessible public

   accommodation.

          65.      As a direct and proximate result of defendants' unlawful discrimination in

   violation of the Administrative Code, plaintiff has suffered, and continues to suffer emotional

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   distress, including but not limited to humiliation, stress, and embarrassment.

          66.     Upon information and belief, defendants’ long-standing refusal to make their

   place of public accommodation fully accessible was deliberate, calculated, egregious, and

   undertaken with reckless disregard to plaintiff’s rights under the Administrative Code.

          67.       By failing to comply with the law in effect for decades, defendants have

   articulated to disabled persons such as the plaintiff that they are not welcome, objectionable

   and not desired as patrons of their public accommodation.

          68.       Defendants engaged in discrimination with willful or wanton negligence,

   and/or recklessness, and/or a conscious disregard of the rights of others and/or conduct so

   reckless as to amount to such disregard for which plaintiff is entitled to an award of punitive

   damages pursuant to Administrative Code § 8-502.

          69.       By refusing to make their place of public accommodation accessible,

   defendants have unlawfully profited from their discriminatory conduct by collecting revenue

   from a non-compliant space and pocketing the money that they should have

          lawfully expended to pay for a fully compliant and accessible space. Defendants’

   unlawful profits plus interest must be disgorged.

          70.       Plaintiff has suffered and will continue to suffer damages in an amount to be

   determined at trial.

                            FOURTH CAUSE OF ACTION
          (VIOLATIONS OF THE NEW YORK STATE CIVIL RIGHTS LAW)
          71.  Plaintiff realleges and incorporates by reference all allegations set in this

   Complaint as if fully set forth herein.

          72.       Defendants discriminated against plaintiff pursuant to New York State

   Executive Law.

          73.       Consequently, plaintiff is entitled to recover the monetary penalty prescribed

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   by Civil Rights Law §§ 40-c and 40-d for each and every violation.

                                        INJUNCTIVE RELIEF
          74.      Plaintiff will continue to experience unlawful discrimination as a result of

   defendants' failure to comply with the above-mentioned laws. Therefore, injunctive relief is

   necessary to order defendants to alter and modify their place of public accommodation and

   their operations, policies, practices and procedures.

          75.      Injunctive relief is also necessary to make defendants' facilities readily

   accessible to and usable by plaintiff in accordance with the above-mentioned laws.

          76.      Injunctive relief is further necessary to order defendants to provide auxiliary

   aids or services, modification of their policies, and/or provision of alternative methods, in

   accordance with the ADA, Executive Law and the Administrative Code.

                                    DECLARATORY RELIEF
          77.      Plaintiff is entitled to a declaratory judgment concerning each of the

   accessibility violations committed by defendants against plaintiff and as to required alterations

   and modifications to defendants’ place of public accommodation, facilities, goods and

   services, and to defendants’ policies, practices, and procedures.

                      ATTORNEY’S FEES, EXPENSES AND COSTS
          78.      In order to enforce plaintiff’s rights against the defendants, plaintiff has

   retained counsel and is entitled to recover attorney’s fees, expenses and costs pursuant to the

   ADA and the Administrative Code. 42 U.S.C. §12205; 28 C.F.R. §36.505; and Administrative

   Code § 8-502.

                                     PRAYER FOR RELIEF

          WHEREFORE, plaintiff respectfully requests that the Court enter a judgment against

   the defendants, jointly and severally, in favor of plaintiff that contains the following relief:

                         i.       Enter declaratory judgment declaring that defendants

                   have violated the ADA and its implementing regulations, Executive
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               Law and Administrative Code and declaring the rights of plaintiff as to

               defendants' place of public accommodation, and defendants’ policies,

               practices and procedures;

                    ii.       Issue a permanent injunction ordering defendants to

               close and cease all business until defendants remove all violations of

               the ADA, the 1991 Standards or the 2010 Standards, Executive Law

               and Administrative Code, including but not limited to the violations set

               forth above;

                    iii.      Retain jurisdiction over the defendants until the Court is

               satisfied that the defendants' unlawful practices, acts and omissions no

               longer exist and will not reoccur;

                    iv.       Award of compensatory damages in an amount to be

               determined at trial;

                     v.       Award plaintiff punitive damages in order to punish and

               deter the defendants for their violations of the Administrative Code of

               the City of New York;

                    vi.       Award reasonable attorney’s fees, costs and expenses

               pursuant to the Administrative Code;

                   vii.       Find that plaintiff is a prevailing party in this litigation

               and award reasonable attorney’s fees, costs and expenses pursuant to the

               ADA; and

                  viii.       For such other and further relief, at law or in equity, to

               which plaintiff may be justly entitled.



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    Dated: August 3, 2021

          Brooklyn, New York




                                            Respectfully submitted,


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